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LAL
sat ;L 4 2005

oLlMl¢HAIL W. ED|||N. IN THE UNITEI') STATES DISTRICT COURT
BK¢ U.I» blmw'l' m FOR THE NDRTHE,RN DISTRICT C)l"` ILLINOIS
EASTERN DlVlSION

 

JASoN o. EvANs )
)
Plainsf£ )
)
-vs- )
)
COREY FLAGG, and M
c_rrv oF cnicAGo, AG!STRA?.EJ
UDG
Defendanrs. ) E MA`BQN
COMPLAINT

Plaintil`f, by eounsel, allege as follows:

l. This is a civil action arising under 42 U.S.C. §1933. The jurisdiction of
this Court is conferred by 28 U.S.C. §`l 343.

2. Plaintiff Jason D. Evans is a resident of the Northern District of lllinois.
3. Defendant City of Chicago is an lllinois municipal corporation

4. Defendant Corey Flagg was at all times relevant acting under color of his

authority as a Chicago police officer.

5. On or about Dctober 21, 2004, defendant Flagg and other Chieago police
officers unlawfully entered plaintiff’s residence, conducted an intrusive
and disruptive seareh, and fabricated evidence that was used to justify the

arrest of plaintiff

6. ln the course of making the arrest, one of the Chieago police officers with
defendant Flagg used excessive and unreasonable force_, causing plaintiff

to sustain personal injuries.

 

 

 

 

 

 

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7. As the result of the above described wrongdoing, plaintiff remained in
custody until Febmary 22, 2005, when all charges against him were

dismissed in a manner indicative of his innocence.

S. As the direct and proximate result of the above described acts, plaintiff
was deprived of rights secured by the Fourth and Fourteenth Amendrnent
to the Constitution of the United States and subjected to the Illinois torts
of battery, false imprisonment and malicious prosecution, for which the

City of Chicago is liable under the doctrine of respondeat superior.
9. Plaintil`l` hereby demands trial by jury.

Wherefore plaintiff requests that judgment be entered in his favor in the
amount of one hundred and thousand dollars, and that the Court grant whatsoF

ever other relief as may be appropriatc.

1 iam
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